

ORDER

PER CURIAM:
AND NOW, this 23rd day of September, 1997, Steven Spiegelman having been suspended from the practice of law in the District of Columbia for a period of one year by Order of the District of Columbia Court of Appeals dated May 8, 1997; the said Steven Spiegelman having been directed on July 2, 1997, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Steven Spiegelman is suspended from the practice of law in this Commonwealth for a period of one year, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
